                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


Jane Doe 1, individually and on behalf of
all others similarly situated,                  Case No. 1:22-CV-10019 (JSR)

   Plaintiff,

        v.

JPMorgan Chase Bank, N.A.,

   Defendant.


   PLAINTIFF JANE DOE 1’S MEMORANDUM OF LAW IN OPPOSITION TO
   DEFENDANT JPMORGAN CHASE BANK, N.A.’S MOTION TO EXCLUDE
                        PLAINTIFF’S EXPERT
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       Plaintiff Jane Doe 1 (“Doe”) respectfully submits this memorandum of law in opposition

to JPMorgan Chase Bank, N.A.’s (“JPMC”) motion to exclude Doe’s expert witness, Jane

Khodarkovsky, and states as follows. Ms. Khodarkovsky is well qualified and her expert opinions

about common issues will assist the Court to resolve the pending class certification motion.

                                 PRELIMINARY STATEMENT

       The Court should deny JPMC’s motion because Ms. Khodarkovsky’s expert opinions

readily meet the Second Circuit’s “liberal standard of admissibility” under Rule 702. Fort Worth

Employees’ Ret. Fund v. J.P. Morgan Chase & Co., 301 F.R.D. 116, 127 (S.D.N.Y. 2014) (under

“liberal” standard, denying the JPMC defendants’ motion to exclude class certification expert and

granting plaintiffs’ motion for class certification).

       For decades, notorious sex trafficker Jeffrey Epstein—with the assistance of JPMC—ran a

criminal organization which recruited hundreds of young women and girls and coerced them into

performing commercial sex acts. See ECF No. 102 at 3. Epstein’s modus operandi involved luring

victims to one of his residences through false promises, then coercing them into performing

massages that became increasingly sexual—ultimately then forcing them to participate in

commercial sex acts on a continuing basis. See id. Epstein’s bank—JPMC—not only knew about

of Epstein’s sex-trafficking venture, see id. at 28–29, but also provided the operation its very

lifeblood in the form of cash which Epstein paid to each of the venture’s victims. See id. at 3–4.

Literally hundreds of young females’ lives were grievously harmed as a result of Epstein and his

cash-fueled venture. Doe now seeks to certify a class to allow the Epstein survivors to have their

day in court collectively. ECF No. 122.

       At this class certification stage, Doe offers testimony from Jane Khodarkovsky as an expert

witness qualified to opine on class-wide issues revolving around:



                                                   1
       •   “sex trafficking and how the financial infrastructure can facilitate, support and
           promote sex trafficking networks, including the methods and means used by
           traffickers to engage in money laundering and other financial and tax crimes”;
       •   “human trafficking, including sex trafficking, and the ways that sex traffickers,
           sex trafficking networks, and their co-conspirators exploit victims for financial
           gain”; and
       •   “the manner, method, and means by which sex trafficking enterprises use the
           financial sector to facilitate and support their trafficking networks.”

See ECF No. 132-2, Expert Report of Jane Khodarkovsky (Mar. 1, 2023) (“Rep.”) at 1; see also

ECF No. 132-3, Reply Expert Report of Jane Khodarkovsky (Apr. 24, 2023) (“Reply Rep.”). Ms.

Khodarkovsky served as a U.S. Department of Justice (“DOJ”) Human Trafficking Finance

Specialist and Trial Attorney in its Criminal Division’s Money Laundering and Asset Recovery

Section. Rep. at 2. In addition to serving as a federal prosecutor for years, Ms. Khodarkovsky has

diverse experience as a state prosecutor, civil litigator, and judicial law clerk, and she currently

works on anti-money laundering and trafficking-related issues as both general counsel of a non-

profit corporation and founder of a consulting firm. Id. at 36–37. Based on her experience

investigating and prosecuting sex-trafficking, money laundering, financial crimes cases, Ms.

Khodarkovsky opines that evidence will show multiple common issues, such as: (1) Epstein ran a

multi-victim sex trafficking venture where the victims allege they have been subjected to similar

abuse, manipulation, and coercive scheme by Epstein and his co-conspirators; (2) JPMC’s

financial infrastructure commonly provided Epstein’s venture with capital, real and tangible

property, and societal influence that allowed the venture to operate for more than a decade; and

(3) Epstein subjected his victims to a common scheme and plan with JPMC’s knowing support.

Id. at 33–34.

       As part of its efforts to avoid facing a class of Epstein survivors, JPMC has moved to

exclude Ms. Khodarkovsky as an expert witness. JPMC appears not to challenge the relevance of

Ms. Khodarkovsky’s expert testimony, but insists she is “not a sex trafficking expert” and

                                                 2
“unreliable.” ECF No. 131 (“Mot.”) at 2, 8. JPMC’s motion should be swiftly denied. Ms.

Khodarkovsky is well qualified to provide expert opinions regarding both sex trafficking and its

financial infrastructure, as well as the intersection of the two. While JPMC attempts to cast

aspersions on her background, it sidesteps the undisputable fact that Ms. Khodarkovsky is a former

DOJ prosecutor with real-world experience in working with trafficking victims, prosecuting

traffickers, and uncovering the financial underpinnings of trafficking organizations. Ms.

Khodarkovsky’s expert testimony is also reliable and therefore admissible. She has carefully

explained in detail in both of her reports and at her deposition how Epstein had a common scheme

as a part of his JPMC-supported sex-trafficking venture. JPMC’s motion, on the other hand, ducks

the majority of Ms. Khodarkovsky’s analysis, which shows how the evidence—even in the earliest

stages of discovery—demonstrates that class-wide issues exist concerning JPMC knowingly

benefitting from Epstein’s sex-trafficking venture.

                                         ARGUMENT

       “It is a well-accepted principle that Rule 702 embodies a liberal standard of admissibility

for expert opinions,” Nimely v. City of New York, 414 F.3d 381, 395 (2d Cir. 2005), beginning

with “a presumption that expert evidence is admissible.” Chen-Oster v. Goldman, Sachs & Co.,

114 F. Supp. 3d 110, 115 (S.D.N.Y. 2015) (internal citation omitted), objections overruled, 325

F.R.D. 55 (S.D.N.Y. 2018). Exclusion remains “the exception rather than the rule.” Feliciano v.

CoreLogic Saferent, LLC, 2020 WL 6205689, at *2 (S.D.N.Y. June 11, 2020). “[T]he traditional

and appropriate means of attacking shaky but admissible evidence” is not exclusion, but rather

“[v]igorous cross-examination, presentation of contrary evidence, and careful instruction on the

burden of proof.” Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 596, (1993)




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        When a motion to exclude expert testimony is made at the class certification stage, 1 the

inquiry is “limited to whether or not the [expert report is] admissible to establish the requirements

of [Federal] Rule [of Civil Procedure] 23.” In re NYSE Specialists Sec. Litig., 260 F.R.D. 55, 66

(S.D.N.Y. 2009). In other words, “[t]he question is not, therefore, whether a jury at trial should be

permitted to rely on [the expert’s] report to find facts as to liability, but rather whether [the Court]

may utilize it in deciding whether the requisites of Rule 23 have been met.” In re Visa

Check/Mastermoney Antitrust Litig., 192 F.R.D. 68, 77 (S.D.N.Y. 2000). Thus, a court’s decision

to consider an expert report at the class-certification stage is not dispositive of the question whether

the report will be received at the merits stage. Passman v. Peloton Interactive, Inc., 2023 WL

3195941, at *4 (S.D.N.Y. May 2, 2023).

I.      Ms. Khodarkovsky Is Qualified to Opine on Sex Trafficking for Purposes of Class
        Certification.

        In this Circuit, courts have construed the inquiry into an expert’s qualifications with an eye

towards the “liberal thrust” of the Federal Rules and their “general approach of relaxing the

traditional barriers to ‘opinion’ testimony.” See Daubert, 509 U.S. at 588–89; Olin Corp. v.

Lamorak Ins. Co., 332 F. Supp. 3d 818, 831 (S.D.N.Y. 2018) (Rakoff, J.) (internal citation omitted)

(“The Second Circuit has taken a liberal view of the qualification requirements of Rule 702, at

least to the extent that a lack of formal training does not necessarily disqualify an expert from

testifying if he or she has the equivalent relevant practical experience.”); see also Wright & Miller,


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  Neither the Supreme Court nor the Second Circuit has definitively ruled on the extent to which a
district court must undertake a Daubert analysis at the class certification stage. See In re U.S.
Foodservice Inc. Pricing Litig., 729 F.3d 108, 129 (2d Cir. 2013) (“The Supreme Court has not
definitively ruled on the extent to which a district court must undertake a Daubert analysis at the
class certification stage.”); Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 354 (2011) (noting in
dicta that the Court “doubt[s] that” “Daubert did not apply to expert testimony at the certification
stage of class-action proceedings” but not settling the question). But the Court need not weigh in
on this debate today: Ms. Khodarkovsky’s testimony easily clears the hurdles of both Rule 702
and Daubert at this class certification stage.
                                                   4
Fed. Prac. & Proc. Evid. § 6264.1 (2d ed.) (“’Experience’ may also qualify a witness as an expert

so long as it is obtained in a practical context.”). If an expert’s training and experience are in a

field closely related to the area to the proposed testimony, that may, in appropriate circumstances,

be sufficient to meet Rule 702’s qualification standards. See Arista Recs. LLC v. Lime Grp. LLC,

2011 WL 1674796, at *3 (S.D.N.Y. May 2, 2011). Ms. Khodarkovsky easily clears this hurdle and

is qualified to opine on sex trafficking and financial infrastructure at the class certification stage.

        Ms. Khodarkovsky has worked on between 50 to 100 sex trafficking cases over the course

of her professional career. She graduated from the University of Michigan Law School, where she

worked in the law school’s Human Trafficking Clinic representing survivors of both sex trafficking

and forced labor. Rep. at 37. Upon graduating, she completed a judicial clerkship with the

Honorable Ronald D. Wigler in New Jersey. Id. She is currently a licensed attorney with the New

York Bar, and has worked in a civil litigation law firm where she handled all aspects of civil cases,

including class action matters. Id. From there, Ms. Khodarkovsky spent nearly a decade as a

prosecutor at the Office of the New Jersey Attorney General, the New York County District

Attorney’s Office, and the U.S. Department of Justice. Id. at 36–37. She is currently the General

Counsel and Head of Risk and Compliance for the Celo Foundation, a sustainability/financial-

inclusion nonprofit; the founder and president of Chazak Consulting, a sole-member LLC firm

focused on consulting services related to anti-money laundering, human trafficking, and child

exploitation; a Board Member, Secretary, and Treasurer to the Association for Women in

Cryptocurrency; and the strategic advisor to Veri Labs, a technology company, where she provides

subject matter expertise related to anti-money laundering. Id. at 36.

        At DOJ, Ms. Khodarkovsky served as a Trial Attorney and the sole Human Trafficking

Financial Specialist in the Money Laundering and Asset Recovery Section, where she led



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investigations and prosecutions of complex money laundering and financial crimes, including

cases involving sex trafficking, forced labor, child exploitation and other victim crimes. Id. at 2.

She was designated as lead prosecutor of her section to support DOJ’s Joint Task Force Alpha to

combat trafficking and worked closely with prosecutors from DOJ’s Human Trafficking

Prosecution Unit. Id. at 6. Ms. Khodarkovsky served regularly as a subject matter expert

supporting cases around the country’s U.S. Attorney’s Offices. Id. She helped to provide best

practices on how to investigate financial crimes, obtain necessary financial records, interview

victims of trauma and assault, and present evidence to grand juries and trial juries. Id. at 3. As an

example, she provided the subject matter expertise to the trial team on money laundering and

forfeiture in United States v. Backpage et al., No. 18-CR-422 (D. Ariz. 2018), where

Backpage.com and its executives were charged with running a racketeering enterprise related to

women and girls being forced to engage in commercial sex acts. Rep. at 4. She has conducted

dozens of witness and victim interviews in cases involving sex trafficking and sexual abuse at both

DOJ and the University of Michigan’s Human Trafficking Clinic. Id. at 5.

       Ms. Khodarkovsky has also provided dozens of trainings and presentations related to

trafficking, financial crimes, and the intersection of the two. Id. at 7, 38–39. Just a few of those

many engagements include:

       •   “Human Trafficking, Child Exploitation, Human Rights, and Violations &
           Sanctions” - Effective Strategies Series” – Thomson Reuters Special Services,
           Panelist, July 27, 2022, New York, NY;
       •   U.S. Department of Justice and Federal Bureau of Investigations – “How to
           Conduct a Financial Crimes and Money Laundering Investigation” – May 12,
           2021, Virtual;
       •   U.S. Attorney’s Office for District of Columbia – “Financial Investigations and
           Asset Forfeiture for Human Trafficking and Child Exploitation Cases” – Nov.
           17, 2020, Virtual;
       •   Internet Crimes Against Children Task Force Conference – “Following the
           Money to Enhance Human Trafficking and Child Exploitation Cases” – Sept.
           17, 2020, Virtual;

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       •   U.S. Department of Justice, Project Safe Childhood Seminar – “Forfeiture and
           Restitution in Child Exploitation and Child Sex Trafficking Cases” – Mar. 4-6,
           2020, Columbia, SC;
       •   U.S. Department of Justice and White House - Legal Aid Interagency
           Roundtable – “Importance of financial investigations, forfeiture, and restitution
           in human trafficking” – Feb. 21, 2020, Washington D.C.;
       •   U.S. Department of Justice’s Human Trafficking Coordinators Training - Anti-
           Money Laundering and Financial Crimes; Asset Forfeiture & Restitution – Oct.
           23-25, 2019, Columbia, SC.

Id. at 38–39. Ms. Khodarkovsky also co-authored the article “Prosecuting Sex Trafficking Cases

in the Wake of the Backpage Takedown and the World of Cryptocurrency,” which was published

in the Department of Justice’s Journal of Federal Law and Practice (May 2021). Id. at 9. She was

the money laundering and forfeiture expert who helped to draft the White House National Action

Plan to Combat Human Trafficking in 2020–21 and then the DOJ’s National Strategy to Combat

Human Trafficking (2011-2022). Id. at 10. Ms. Khodarkovsky worked with her DOJ money

laundering section to draft and contribute to the National Defense Authorization Act of FY2021,

and regularly provided training to DOJ components and U.S Attorney colleagues on the specific

changes mandated by the Anti-Money Laundering Act (AML Act). Id. at 9–10. She has also helped

DOJ draft and critique legislation for the assistance of members of Congress. Id. at 10.

       All of this is but a sample of Ms. Khodarkovsky’s vast professional experience working in

the intersection of trafficking and financial crimes, which makes her well-qualified under the

“liberal” admission standard to opine at the class certification stage on sex trafficking and how the

necessary financial infrastructure can facilitate and support a sex trafficking enterprise. As

explained in detail in her Report, based on her experiences and a preliminary review of the

evidence in discovery, it is her expert opinion that common issues exist regarding whether Epstein

ran a multi-victim, JPMC-funded sex-trafficking venture and subjected his victims to a common

scheme and plan with JPMC’s knowing support. There is a direct nexus between Ms.


                                                 7
Khodarkovsky’s experience and training in sex trafficking and financial crimes and her testimony

relating to Epstein’s sex-trafficking venture and JPMC’s role in it. That is all that is needed to meet

Rule 702’s qualification standards. See Arista Records, 2011 WL 1674796, at *3.

       JPMC’s arguments that Ms. Khodarkovsky is not qualified to opine on common features

of sex trafficking are unpersuasive. For example, JPMC attacks Ms. Khodarkovsky because this

is the first occasion for her being hired as an expert witness and having her deposition taken. Of

course, if that were reason for disqualifying, then literally every expert witness be penalized for

their first time being proffered in a lawsuit. 2 If anything, Ms. Khodarkovsky’s recent experience

in the field is a strength, not a weakness. JPMC also attempts to penalize Ms. Khodarkovsky for

“[not] hold[ing] any credential other than her law degree” and for “major[ing] in Political Science

and History.” Mot. at 3, 3 n.2. JPMC’s criticisms of Ms. Khodarkovsky’s educational background

are inapposite given her many years of actual work experience at DOJ, state prosecutor offices, a

judicial clerkship, and elseqhere. See Veleron Holding, B.V. v. Morgan Stanley, 117 F. Supp. 3d

404, 445 (S.D.N.Y. 2015) (“[A]s to [the expert’s] lack of academic experience . . . The word of an

experienced trader about what traders are and are not allowed to do with information obtained

during negotiations . . . is potentially worth far more than the opinion of any ivory tower

academic.”); Emig v. Electrolux Home Prods. Inc., 2008 WL 4200988, at *5 (S.D.N.Y. Sept. 11,

2008) (“[I]t is well-settled that, to be an expert, a person need not hold a particular degree or

license.”). For good measure, JPMC even faults Ms. Khodarkovsky for being an attorney. See Mot.




2
  JPMC also attacks Ms. Khodarkovsky on the ground that “this case is the second time she has
ever worked on a class action in any capacity.” Mot. at 3. Not only is this false in both citation
(nowhere in lines 285:23-286:21 of her transcript does she testify to this) and in reality (Ms.
Khodarkovsky has worked on at least three class actions lawsuits as a civil litigation associate),
but it is irrelevant—Ms. Khodarkovsky is not offered as a “class action litigation expert” but rather
on the commonalities existing in the sex trafficking and finance evidence in this case.
                                                  8
at 3. But “[m]erely being a lawyer does not disqualify one as an expert witness.” Hoactzin

Partners, L.P. v. Fieldwood Energy, LLC, 2019 WL 13210657, at *5 (S.D. Tex. Oct. 18, 2019)

(finding attorney expert witness to be qualified to testify about commercial and business

development aspect of the oil and gas business).

       JPMC also paints a distorted picture of Ms. Khodarkovsky’s experience at DOJ by cherry-

picking citations from her deposition to suggest a lack of experience with trafficking issues. But

Ms. Khodarkovsky testified that she was “the subject matter expert from the Department of Justice

related to investigating human trafficking, including sex trafficking cases, along with money

laundering and financial crimes as part of those sex trafficking cases for other U.S. government

partners.” ECF No. 132-1 (“Khodarkovsky Dep.”) at 21:10–16 (emphasis added). Ms.

Khodarkovsky explained that at DOJ she “developed a lot of [her] knowledge of sex trafficking,

of how to investigate and prosecute those cases, as well as how to train or teach others to use

financial investigations or money laundering investigations to be able to bring . . . sex trafficking

cases to bear.” Id. at 22:4–10. She also explained that she was specifically hired by DOJ for the

human trafficking finance specialist role and to “build out a program for [DOJ] focused on how to

bring financial crimes and money laundering cases in sex trafficking and forced labor cases.” Id.

at 24:8–11. In sum, JPMC’s attempts to downplay Ms. Khodarkovsky experience at DOJ by




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pointing to notices of appearance 3 and charging decisions 4 are nothing more than “pure

pettifoggery.” See Veleron, 117 F. Supp. 3d at 445.

       JPMC relies on either inapt cases where the proffered expert had no experience in the

relevant area of expertise, see, e.g., In re Rezulin Prods. Liab. Litig., 309 F. Supp. 2d 531, 559–

560 (S.D.N.Y. 2004) (expert in diabetes case “admitted that he is not an expert on diabetes in the

U.S.”); Hayes v. MTD Prod., Inc., 518 F. Supp. 2d 898, 901 (W.D. Ky. 2007) (no “objective proof”

that witness was expert in “the field of riding mower safety” in mower defect case), or cases where

the court did in fact find that the expert was qualified in at least some subject matter. See In re

Aluminum Warehousing Antitrust Litig., 336 F.R.D. 5, 35 (S.D.N.Y. 2020) (finding proffered

expert was “extensively qualified economist”); Pearlstein v. Blackberry Ltd., 2021 WL 4131646

(S.D.N.Y. Sept. 10, 2021) (all four witness qualified to provide expert testimony); Nimely, 414 at

396 (overturning on grounds unrelated to qualification, but noting that “no substantial dispute




3
  JPMC’s criticism about the lack of a formal “notice of appearance” in various cases is an odd
one. Of the many qualified and seasoned lawyers representing JPMC in this matter, there are many
who have not entered a notice of appearance, yet that is no reason to diminish their undoubtedly
important contributions to their defense of JPMC. See HVT, Inc. v. Port Auth. of New York & New
Jersey, 2018 WL 6079932, at *4 (E.D.N.Y. Nov. 21, 2018) (“The fact that Mr. Meola did not file
a notice of appearance in this case does not prevent him from performing legal services on behalf
of a client.”); Case v. Unified Sch. Dist. No. 233, 157 F.3d 1243, 1252 (10th Cir. 1998) (notice of
appearance is not “the relevant question”).
4
  Of the 50 to 100 sex trafficking cases Ms. Khodarkovsky worked on at DOJ, she of course did
have the authority to make charging decisions and was involved in many cases where she
determined whether or not to bring sex trafficking charges. JPMC appears to assume that the
sample of cases Ms. Khodarkovsky listed in her report were the only cases she worked on, which
could not be further from the truth. Ultimately, though, it matters little, as the instant case is, of
course, a civil case with a preponderance-of-the-evidence standard, whereas Ms. Khodarkovsky’s
criminal cases involved the beyond-a-reasonable-doubt standard. Whether she would charge
someone as a prosecutor in a criminal sex trafficking case and whether she can identify the
existence of sex trafficking in a civil case like this one are two completely different inquiries.
Allred v. Chynoweth, 990 F.2d 527, 533 n.4 (10th Cir. 1993) (noting the “vast differences” between
preponderance and reasonable-doubt standards of proof) (citing In re Winship, 397 U.S. 358, 367–
68 (1970)).
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concerning [the] expert [’s] qualifications as a forensic pathologist”). Here, Ms. Khodarkovsky

has extensive experience and knowledge in the area of expertise for which she was retained—sex

trafficking, along with its financial implications.

        At bottom, JPMC’s complaints “as to the strength of [the expert’s] credentials . . . go to the

weight, not the admissibility, of [the] testimony.” Daubert, 509 U.S. at 596; Sec. & Exch. Comm’n

v. Revelation Cap. Mgmt., Ltd., 215 F. Supp. 3d 267, 274 (S.D.N.Y. 2016) (“quibbles” with an

expert’s qualifications “are properly explored on cross-examination” and “go to the weight, not

admissibility” of an expert's testimony). Ms. Khodarkovsky’s experience in sex trafficking meet

the “liberal” standard for admission.

II.     Ms. Khodarkovsky’s Analysis Is Reliable.

        Ms. Khodarkovsky also meets the reliability prong under Rule 702 and Daubert. The test

for reliability is “flexible,” and the court may, “but need not,” consider the specified factors

identified in Daubert which are testing, peer review and publication, assessment of error-rate, and

general acceptance in the relevant scientific community. Am. Railcar Indus., Inc. v. GyanSys, Inc.,

2017 WL 11501888, at *19–23 (S.D.N.Y. Nov. 14, 2017) (Rakoff, J.) (cleaned up), aff’d, 764 F.

App’x 57 (2d Cir. 2019). In cases where experts “draw a conclusion from a set of observations

based on extensive and specialized experience,” “the method is the application of experience to

facts.” Scott v. Chipotle Mexican Grill, Inc., 315 F.R.D. 33, 50 (S.D.N.Y. 2016).

        Here, Ms. Khodarkovsky’s analysis in applying her experience to the facts before her is

reliable, particularly given the narrow scope of the testimony: whether common and recurring

issues exist across the class.




                                                  11
       A. Ms. Khodarkovsky’s Opinion Is Well Within Her Role as Expert.

       JPMC accuses Ms. Khodarkovsky of improperly “usurping” the role of both judge and

jury. Far from it, Ms. Khodarkovsky’s opinions are well within her role as an expert witness and

provide useful assistance at the class certification stage of this complex litigation.

       JPMC asserts that Ms. Khodarkovsky “begins her analysis by telling the reader ‘how …

crimes alleged like sex trafficking are defined.’” Mot. at 9 (citing Rep. at 12). Not true. Ms.

Khodorkovsky begins the section of her report describing her opinions by explaining how “the

necessary financial infrastructure can facilitate and support the sex trafficking enterprise.” Rep. at

12. From there, the report provides some brief, prefatory background on the TVPA. Id. at 12–13.

But “an expert opinion is not automatically inadmissible because it refers to the law.” 1 Kenneth

S. Broun et al., McCormick on Evidence § 16 (8th ed. 2020). “This is not a case . . . where ‘the

witness repeatedly tracked the exact language of the statutes and regulations which the defendant

had allegedly violated and used judicially defined terms.’” Allen v. City of New York, 466 F. Supp.

2d 545, 549 (S.D.N.Y. 2006).

       Ms. Khodorkovsky is not opining on whether JPMC has violated the TVPA—or the BSA,

FinCEN regulations, or any other statutes or rules. Rather, Ms. Khodarkovsky’s references to the

TVPA (to provide one example) concern the background facts that Doe and the putative class are

asserting as a predicate for the opinions that follow. See, e.g., Rep. at 13–14. Thereafter, against

that backdrop, Ms. Khodarkovsky offers well-founded expert opinions to assist the Court in

determining whether class certification is warranted in this case.

       Any other approach would be incomprehensible. For example, Ms. Khodarkovsky could

hardly describe the kinds of “coercion” that sex traffickers commonly deploy (id. at 14–15) without

at least a brief discussion of the types of “coercion” made actionable under the TVPA (id. at 13).

She is not purporting to “express[] a legal conclusion” (Mot. at 10) about whether Epstein actually
                                                  12
employed coercion—facilitated by JPMC’s participation—but rather to describe the common

issues of coercion that will be presented as the case moves forward. Report at 14–16 (describing

common TVPA “coercion” issues).

       While an opinion about whether Epstein’s actions satisfied the TVPA’s coercion

requirements might be a “legal conclusion,” an opinion about whether certain actions were

common across the class “is merely an ‘ultimate issue’ and therefore the permissible subject of

expert testimony” at the class certification stage. Better Holdco, Inc. v. Beeline Loans, Inc., 2023

WL 2711417, at *25 (S.D.N.Y. Mar. 30, 2023). Ms. Khodarkovsky’s opinions are admissible even

if they embrace ultimate facts and issues. See Fed. R. Evid. 704(a) (“An opinion is not

objectionable just because it embraces an ultimate issue.”). And, to be sure, the fact that Ms.

Khodorkovsky is an experienced attorney in the sex-trafficking field does not disqualify her.

United States v. Fennell, 381 F. Supp. 2d 1312, 1316 (D.N.M. 2005) (allowing testimony by

attorney expert); New Mexico v. Gen. Elec. Co., 335 F. Supp. 2d 1266, 1305–06 (D.N.M. 2004)

(law professor).

       In addition to common issues pertaining to “coercion,” Ms. Khodarkovsky’s report also

contains many other examples of useful opinions on common issues in this case. Here again, she

does not purport to define the law or resolve factual disputes. Instead, she uses her expertise to

crystalize and spotlight widespread issues that will develop in the case regarding trafficking sex

trafficking victims, financial aspects of sex trafficking, and the effect of banking laws and

regulations on sex trafficking. Here are some highlights of the common issues:

               Common Issues Regarding Sex Trafficking Victims

       •   “Victims of sex trafficking may also feel coerced or threatened by what they
           perceive the stature of the person, who is recruiting or exploiting them may
           have.” Id. at 14.



                                                13
•   “[I]n my experience working on cases and supporting the U.S.-Mexico Bilateral
    Human Trafficking Enforcement Initiative, I reviewed hundreds of telephone
    records, utility bills, airline tickets, and saw the use of cash by the traffickers
    and various accounts to control and threaten the victims, born abroad and in the
    U.S.” Id. at 15.
•   “Based upon the complaint, the preliminary review of publicly available
    information, and preliminary review of the discovery, my expert opinion is that
    Epstein had a specific modus operandi in how he trafficked and abused girls,
    which he repeated over and over again.” Id. at 19.
•   “It is also my expert opinion that the Epstein sex-trafficking venture operated
    as a venture to target vulnerable victims in common ways.” Id. at 25.
•   “It is common for traffickers and their facilitators to create a climate of fear in
    victims of trafficking by demonstrating their access to capital and professionals
    such as bankers, accountants, or lawyers.” Id. at 25.
•   “In my review of the complaint, publicly available reports, and preliminary
    review of the discovery, my expert opinion is that the volume of public
    reporting about the allegations of sexual abuse (and certain allegations of
    money laundering/Ponzi schemes), sexual assault, child sex trafficking and sex
    trafficking over the relevant time period related to Epstein and his co-
    conspirators, including reporting of Epstein’s connections to prominent
    business leaders, attorneys, and politicians, could also serve to intimidate and
    make victims apprehensive and fearful to come forward for fear of not being
    believed.” Id. at 33.

        Common Issues Regarding Financial Aspects of Sex Trafficking

•   “My expert opinion based on my experience investigating sex trafficking and
    money laundering cases, is that the fungibility of cash makes it much harder to
    trace once it has left the bank account, and especially if the bank has not filed
    timely suspicious activity or currency transaction reports to alert FinCEN or
    law enforcement of financial transactions or series of transactions that
    demonstrate indicia of criminal activity.” Id. at 20.
•   “The BSA and its implementing regulations require domestic banks and other
    financial institutions to establish and maintain programs to detect and report
    suspicious activity . . . Financial institutions must make certain disclosures,
    including filing Currency Transaction Reports (CTRs), Suspicious Activity
    Reports (SARs), and other reports pursuant to their BSA obligations.” Id. at 24.
•   “Based on my experience investigating sex trafficking and money laundering
    cases, my expert opinion is that Doe and the potential class members would all
    be impacted in a common manner by Epstein’s continuous access to large
    amounts of capital.” Id. at 27.
•   “[A] majority of the issues that will likely be at issue in this case . . . appear to
    be common issues flowing from the defendant bank’s financial support and
    funding of the Epstein sex-trafficking venture. . . . The plaintiffs’ claims
    regarding whether such financial support is actionable under the TVPA could
    be established through common evidence.” Id. at 29.

                                           14
              Common Issues the Effect of Banking Laws and Regulations on Sex
           Trafficking

       •   “ . . . [T]he questions as to whether the bank followed proper procedures related
           to KYC, AML and reporting suspicious activity, does not appear that these
           violations differed significantly from victim to victim as discussed throughout
           my report as the bank’s KYC, AML and reporting suspicious activity would be
           questioned by Doe and all class members not related to one isolated transaction,
           but regular transactions and series of transactions that occurred year after year.”
           Id. at 28.
       •   “Many of the issues present in this case concern banking practices and
           regulations. Some of those issues may require expert testimony. Plaintiffs’
           claims could be established through common evidence, including (for example)
           common expert testimony.” Id. at 29.
       •   “My review of the complaint and preliminary review of the discovery shows
           that the types of facts and issues I would explore in my financial investigations
           such as source of funds, opening and closing bank documents, cash deposits
           and withdrawals, wires and wiring instructions, payments to third parties,
           opening and closing numerous limited liability companies, high amounts of
           funding for air travel, transportation, gas, food, and lack of payroll records
           connected to business accounts, among others, would all be common facts . . .”
           Id. at 29–30.

       These expert opinions about common issues do not “usurp” the Court’s role in making the

legal determination of whether class certification is appropriate under Rule 23. Instead, these

opinions provide helpful information about sex trafficking and its financial components that would

otherwise be impossible to understand. For example, as the Court is aware from resolving multiple

discovery disputes, JPMC’s obligations as a bank involve a veritable alphabet soup of acronyms

and specialized terms. At issue here (among many other complex disputes) is whether JPMC faces

liability under the TVPA for failing to discharge its obligations as a potential MSB under

FinCEN’s BSA regulations requiring the filing of CTRs and SARs to ensure KYC and AML

compliance with rules against “structuring” cash withdrawals that lack an “apparent lawful




                                                 15
purpose.” 5 It is unclear how JPMC proposes to wade into that regulatory thicket without an expert

guide. 6

           JPMC also accuses Ms. Khodarkovsky of “impermissibly taking on the role of jury in

interpreting the evidence.” Mot. at 11 (internal quotation omitted). Here again, not so. Ms.

Khodarkovsky is not interpreting the evidence, but rather surveying the voluminous and complex

evidence. And then, having surveyed the available evidence, she uses her expertise in sex-

trafficking issues to pinpoint common issues of fact that might not otherwise be apparent. This is

the everyday fare of an expert opinion. See Louis Vuitton Malletier S.A. v. Sunny Merch. Corp.,

97 F. Supp. 3d 485, 504 (S.D.N.Y. 2015) (economist’s expert report properly “combed through

[voluminous] sales reports, compiled and aggregated the data . . . and presented it in a more readily

understandable format”); Scott v. Chipotle Mexican Grill, Inc., 315 F.R.D. 33, 45 (S.D.N.Y. 2016)




5
  The Trafficking Victim Protection Act (TVPA) is found at 18 U.S.C. §§ 1591–95. A definition
of Money Service Business (MSB) is found in 31 CFR 1010.100(ff) (formerly 31 CFR
103.11(uu)). The Financial Crime Enforcement Network’s (FinCEN’s) authority is described in
31 U.S.C. §§ 310 et seq. and Treasury Order 180-01 (superseded by Treasury Order 180-01 in
2014). The Currency and Foreign Transactions Reporting Act of 1970 (which legislative
framework is commonly referred to as the “Bank Secrecy Act” or “BSA”) requires U.S. financial
institutions to assist U.S. government agencies to detect and prevent money laundering. The BSA
is sometimes referred to as an “anti-money laundering” law (“AML”) or jointly as “BSA/AML.”
Several AML acts, including provisions in Title III of the USA PATRIOT Act of 2001, have been
enacted since 1970. See, e.g., 31 U.S.C. §§ 5311-5330; see also 31 CFR Chapter X (formerly 31
C.F.R. Part 103). These laws and regulations include various “Know Your Customer” (KYC)
obligations. Among these are the requirements for currency transaction reports (CTRs), found in
31 C.F.R. § 1010.310 et seq. Other obligations can include the filing of Suspicious Activity
Reports (SARs), as directed by 12 C.F.R. 21.11 et seq.
6
  JPMC complains that Ms. Khodarkovsky is “not offered as a banking or financial services
expert.” Mot. at 11 n.7. But she is offered as an expert in such closely aligned areas as “how the
necessary financial infrastructure can facilitate and support the sex trafficking enterprise” and
factual issues “concerning the financial institution’s federal, state, and regulatory obligations that
facilitated and supported the Epstein sex trafficking network, including the bank’s due diligence,
know-your-customer (KYC), and other risk protocols.” Rep. at 12.
                                                 16
(experts may “synthesize[ ] or summarize[ ] data in a manner that streamlines the presentation of

that data”).

        To provide one illustration, Ms. Khodarkovsky notes that a common factual issue will be

whether “Epstein had a specific modus operandi in how he trafficked and abused girls, which he

repeated over and over again.” Rep. at 19. Here again, expert opinion on this factual issue of modus

operandi will be helpful. To be sure, an opinion addressing “lay matters which [the trier of fact] is

capable of understanding and deciding without the expert’s help is not relevant and is therefore

inadmissible.” United States v. Jiau, 734 F.3d 147, 154 (2d Cir. 2013) (internal quotation omitted).

But the modus operandi of sex-trafficking organizations is hardly a “lay matter.” Ms.

Khodarkovsky’s opinion concerns the need for Doe and class members to present evidence

regarding common issues of fact—issues related to being “manipulated about the nature of their

visit to Epstein’s home, groomed to believe that Epstein may help with their financial, medical, or

educational needs, while being forced to engage in sex acts on him at his home in New York and

elsewhere.” Rep. at 19. Expert guidance on how such techniques as “grooming” are used by sex-

traffickers will be helpful in making the class certification determination. And even if Ms.

Khodarkovsky offers her expert opinion that Epstein—facilitated by JPMC—was engaged in

grooming, it is clear that “[a]n expert may properly give evidence stating a factual conclusion even

if it embraces an ultimate issue to be decided by the jury.” Allen, 466 F. Supp. 2d 545, 549

(S.D.N.Y. 2006).

        Remarkably, JPMC stakes out the position that “nothing” in the “documents or testimony”

in this case “requires specialized knowledge, expertise, or skill to interpret.” Mot. at 11. Here

again, not so. To provide but one clear-cut illustration, a finder of fact might wonder why Epstein’s

co-conspirators made repetitive cash withdrawals from JPMC branches in amounts that almost



                                                 17
invariably fell below the $10,000 threshold for filing a Currency Transaction Report (“CTR” is

the common acronym in the banking field). To the lay person, perhaps such a structure for the

withdrawals was a matter of convenience. But through the eyes of an expert in sex trafficking,

such withdrawals would immediately be a red flag of suspicious activity. These withdrawals would

raise the possibility of “structuring”—that is, making withdrawals in a way designed to avoid

triggering the bank’s requirement of filing not only CTRs but also Suspicious Activity Reports

(“SAR” is the common acronym in the baking field), which may then also evade law enforcement

scrutiny. Ms. Khodarkovsky offers expert opinions in this area (see Rep. at 24), which will present

common factual issues across the class. This is hardly something that a factfinder can be expected

to assess without the use of expert testimony. 7

       Finally, Ms. Khodarkovsky’s report also makes clear that she “offer[s] such expert

testimony to assist the Court in its determination of class action status based on my knowledge,

skill, experience, training, and education.” Id. at 12. To the extent these opinions have led her to

conclude that the common evidence available in this case may prove the elements of class

certification, she is not opining on whether the ultimate legal standard for class certification has

been met. 8 The Court will independently apply the law to specific factual issues a reach a



7
  JPMC’s reliance on In re Rezulin Prod. Liab. Litig., 309 F. Supp. 2d 531 (S.D.N.Y. 2004), a non-
class action case, is misplaced. There, the plaintiffs’ proffered expert witness, a medical doctor,
gave testimony for which the sole apparent purpose was to “provide historical commentary of what
happened” and “background” as to the medicine at issue in the case. Id. at 551. The court
determined that testimony as to the “history of Rezulin” was unnecessary in the context of
relatively “uncomplicated facts,” so it excluded this “historian” witness. Id. Such is not the case
here: Ms. Khodarkovsky’s offers far more than the “history” or “narrative of the case,” and the
facts in this cases are anything but “uncomplicated.”
8
  If the Court wants to reinforce the boundary against offering legal opinions, it can enter an order
precluding that testimony—an approach it adopted in another case. See Adrea, LLC v. Barnes &
Noble, Inc., 2014 WL 8850434, at *1 (S.D.N.Y. Oct. 14, 2014) (Rakoff, J.) (rejecting Daubert
challenges to witnesses on both sides but instructing that “[n]o expert will be permitted to opine
on questions of law”).
                                                   18
determination of whether to certify a class. There is no risk that the Court will fail to independently

fulfill its duty because of Ms. Khodarkovsky’s expert opinions or substitute Ms. Khodarkovsky’s

conclusions for its own. Rather, Ms. Khodarkovsky is offering her expertise in the sex trafficking

arena to the facts of this case to assist the Court in its own, independent application of Rule 23 and

determination of class certification.

         B. Ms. Khodarkovsky Relies on Sufficient Facts and Data.

         JPMC also claims that Ms. Khodarkovsky’s opinions are too speculative and rely on

insufficient facts and data. Of course, Ms. Khodorkovsky submitted her initial report on March 1,

2023—three months before the close of fact discovery. 9 It is well-settled that “as the parties remain

engaged in merits discovery at the class certification stage, the information available to experts is

limited. In re EpiPen (Epinephrine Injection, USP) Mktg., Sales Pracs. & Antitrust Litig., 2019

WL 1569294, at *4 (D. Kan. Apr. 11, 2019); cf. Adrea, LLC (degree of speculation in expert’s

testimony was “a function of the limited nature of the underlying evidence available in this case”).

In light of the ongoing developments, this court should apply “a focused Daubert analysis which

scrutinize[s] the reliability of the expert testimony in light of the criteria for class certification and

the current state of the evidence.” In re EpiPen, 2019 WL 1569294, at *4 (“the forthcoming class

certification determination is but a preliminary determination subject to reevaluation and

amendment in light of developments in the case”).

         Even on a limited record, Ms. Khodorkovsky states countless times in her report and (in

deposition) how she arrived at her well-founded conclusions about common issues:

         What I had said was that I believe that I reviewed materials in this case where I felt
         comfortable finding, in my opinion, based on experience, including what I
         reiterated in both my March 1st and the paragraph you are citing here, that the
         allegations of sex trafficking that Jane Doe and other victims of Epstein have put
         forward and that I reviewed all reflect that he had a method by which he identified

9
    Her Reply Report, too, was submitted weeks before close of fact discovery.
                                                   19
        Q. Okay. So fair to say you didn’t interview anyone about their experiences with
        Jeffrey Epstein?
        A. That’s correct. I chose not to interview the victims in order to prevent them from
        having to be retraumatized by talking to me again about their experience.

Khodarkovsky Dep. at 88:13–22; 89:14–17; 90:4–1. In addition to emphasizing this point, she also

explained that she “reviewed materials that were complete enough to form an opinion based on

my experience about the type of abuse and exploitation that Jane Doe alleged and is purported by

other victims of Epstein.” Id. at 109:15–19. Unsatisfied with Ms. Khodarkovsky’s answer, JPMC

insists that she should have pressed on with interviews because of Ms. Khodarkovsky’s past

experience interviewing witnesses at DOJ. This argument makes little sense. Ms. Khodarkovsky

conducted witness interviews in the context of a federal criminal case in order to make ultimate

prosecutorial determinations; here, she offers no opinion as to the merits of Doe’s case, but rather

opines on common issues amongst putative class members for the preliminary purpose of class

certification. 11

        JPMC’s primary example of Ms. Khodarkovsky engaging in “speculation” is in response

to JPMC asking about an underage girl claiming she was in love with Epstein and claiming this

somehow points to a lack of coercion. Setting aside JPMC’s repugnant blame-the-victim tactics,

JPMC does not even recount the full line of questioning and instead cherry-picks a single fragment.

The full transcript provides a different picture of Ms. Khodarkovsky’s answer—as well as the




11
  JPMC’s argument that Ms. Khodarkovsky’s own acknowledgement of the importance of witness
interviews based on her experience obligates her to conduct them in this case collapses on itself:
since Ms. Khodarkovsky has such vast experience with witness interviews, she of all people would
know when they are necessary and when they are not.
        One need look no further as to the re-traumatization of Epstein’s survivors than JPMC’s
own conduct throughout this litigation, which includes (but is not limited to) subjecting the named
Plaintiff and her family to numerous invasive proceedings that have retraumatized them repeatedly
since Doe courageously filed suit. No other victim should be forced to endure such attacks.
                                                 22
unabashed shameful theory that JPMC is pursuing that underage girls could properly and lawfully

be manipulated by Epstein into performing commercial sex acts:

       Q. Okay. And you see here that in the second paragraph on this page there’s a
       description of an interview of a 17-year-old who was asked to talk about Jeffrey
       Epstein, and who replied that she was so in love with Jeffrey Epstein and she would
       do anything for him and she would not speak to us -- with us about anything either
       negative or positive. Do you see that?
       A. I do see that, yes.
       Q. Okay. And would you agree with me that love is one reason why somebody
       might have sexual contact with Jeffrey Epstein?
       MR. VILLACASTIN: Objection.
       A. I believe that based on what I’ve reviewed, Jeffrey Epstein used the vulnerability
       of some of these women to make them they believe they loved him, and that’s why
       they continued to engage in the relationship, and this does happen in other sex
       trafficking cases. That’s part of the coercion that occurs, yes.
       Q. Sure. Sometimes when people say they are in love they’ve just been coerced and
       don’t know what they are talking about, but sometimes people actually fall in love;
       right?
       MR. VILLACASTIN: Objection.
       A. In sex trafficking cases that I’ve had, there have also been victims who have said
       that they love their trafficker. There have been cases where victims have testified
       on behalf of their traffickers at trials in my experience, but that does not mean that
       they are not victims of trafficking.
       Q. I understand. But to determine whether somebody is fitting into the category you
       are describing, where they say they are in love but really they are a victim, or into
       the other category where they actually fell in love, wouldn’t you want to talk to the
       person and understand all of the circumstances that led the person to say that?
       A. For specifically this particular individual, she is 17 years old at the time of this
       interview, and she may well believe that she is in love with Epstein. But he has used
       his methods that he uses on his victims to -- to make the young woman believe that
       she’s in love with him. And this is typical of a certain type of trafficking where the
       victims do believe that they love the trafficker. For example, I have had cases that
       I have advised on where the trafficker is the only family that victim knows, and
       they are still a victim of trafficking. They’re still being coerced. But they experience
       a feeling of love because the -- one of the reasons why they were victimized by
       their trafficker was because they may not necessarily have had someone else in
       their life. So what is being described in this report is, in my experience, typical of
       victims of trafficking.

Khodarkovsky Dep. at 195:21–198:14; see also id. at 200:20–201:18. JPMC is of course free to

advance its bizarre and illegitimate defense of Epstein’s coercion. But nothing in that defense

renders Ms. Khodarkovsky’s opinions somehow unreliable.

                                                 23
(Rakoff, J.) (“The testimony of a party’s expert must be evaluated within the context of that party’s

own theory of the case. As a result, where the legal or factual sustainability of a party’s theory has

not yet been decided, the possibility that such theory may be legally or factually deficient is not

justification for concluding that, in the context of that party’s theory, the expert’s testimony is

unreliable or unhelpful.” (cleaned up)). JPMC’s disagreement “is at best an avenue for cross-

examination, rather than a disqualification from testifying.” Veleron, 117 F. Supp. 3d at 445. Here,

as in most cases, “[v]igorous cross-examination, presentation of contrary evidence, and careful

instruction on the burden of proof are the traditional and appropriate means of attacking” Ms.

Khodarkovsky’s opinions. Daubert, 509 U.S. at 596.

                                          CONCLUSION

       For the reasons stated herein, Doe respectfully requests that the Court deny JPMC’s motion

to exclude Ms. Khodarkovsky as an expert witness.


Dated: May 22, 2023                                   Respectfully Submitted,


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